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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
    Case No.       CV20-11181-CAS(JPRx)                                          Date   August 15, 2022
    Title          NEMAN BROTHERS AND ASSOCIATES, INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]



    Present: The Honorable         CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Laura Elias                         N/A
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Chan Jeong                                             Mark Lee
    Proceedings:              ZOOM FURTHER STATUS CONFERENCE

       Hearing held by Zoom and counsel are present. The Court confers with counsel,
as stated on the record. Additional briefing for the pending Motions for Summary
Judgment[35][41][68] is needed. The Court sets the following supplemental briefs:

C           Defendants’ Supplemental Brief shall be filed on or before October 11, 2022;
C           Plaintiff’s Responsive Brief shall be filed on or before November 1, 2022;
C           Defendants’ Reply Brief shall be filed on or before November 15, 2022; and
C           Hearing on the Motions for Summary Judgment is reset on December 5, 2022, at
            10:00 A.M.

       Plaintiff’s counsel addresses the Court’s Order to Show Cause Minutes[89], as
further stated on the record. Plaintiff moves to dismiss defendant Can Wang and
defendants do not oppose plaintiff’s oral request. Pursuant to the parties oral agreement,
the Court hereby dismisses defendant Can Wang forthwith, and the Court’s Order to
Show Cause is hereby discharged.



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                                                               Initials of Preparer          CMJ




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